Case 8:19-mj-00241-DUTY Document 15 Filed 04/08/19 Page 1 of 1 Page--ID,#:254
                                                                         s ~.-- - v ~
                                                    C~~1~Ii~1,~L
                       UNITED STATES DISTRICT COURT
                                                                -~,
                     CENTRAL DISTRICT OF CALIFORNIA
                                                                                                                  .~
 UNITED STATES OF AMERICA,                                                      WARRANT FOR
                                  PLAINTIFF,                                      ARREST
                          ~.
 MICHAEL J. AVENATTI
                                                                                  ON COMPLAINT
                                  DEFENDANTS)
                                                                          CASE NOSH            1 9 - 2 ~ 1 ~i
To:     UNITED STATES MARSHAL AND ANY AUTHORIZED UNITED STATES OFFICER

YOU ARE HEREBY COMMANDED to arrest MICHAEL J. AVENATTI and bring

him forthwith to the nearest Magistrate Judge to answer a complaint charging him with

Bank Fraud, in violation of Title 18, United States Code, Section 13                           ~, a         Vi~

Fraud, in violation of Title 18, United States Code, Section 1343                                  w ~, ~
                                                                                                   ~ .r_
                                                                                                               ~o
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                                                                                                                            i

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REC: BY AUSAs Julian L. Andre and Brett A. Sagel                                [Detention]        ~..-,-
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  /Vla~~~ ~a~~lS
 Date                                                                    of Magistrate Judge



                                                                            of ~1 istrate Judge


                                             RETURN
 This warrant was received and executed with the arrest of the above-named defendant at(location):

                                             +~,.-
                                                        t.'~t~,":,   k
                                        :.
 DATE RECEIVED        NAME AN                           ING               ..:
                                                                           ~`   IGNATURE OF ARRESTING OFFICER
                      OFFICER            ~~
 DATE OF ARREST                 ~,''~                       /~           '~'     ~
                                              ..: '~
                                                                :t
                                                       .f ~'S '~
DESCRIPTIVE INFORMATION FOR                             PAGE TWIOA~

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                               WARI      ~F                ST ON COMPLAINT                                     Page 1 of4
